

Linnea W. v State of New York (2024 NY Slip Op 50651(U))




[*1]


Linnea W. v State of New York


2024 NY Slip Op 50651(U) [83 Misc 3d 1203(A)]


Decided on May 21, 2024


Court Of Claims


Vargas, J.


Published by New York State Law Reporting
Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be
published in the printed Official Reports.



Decided on May 21, 2024
Court of Claims

Linnea W.,
Individually and on Behalf of Minor Daughter V.P.,[FN1] Claimants,

againstThe State of New York,
Defendant.

Claim No. 141479

For Claimants:Linnea W., Pro SeFor Defendant:Hon.
Letitia A. James, Attorney Generalof the State of New YorkBy: Felice
Torres, Esq., Assistant Attorney General


Javier E. Vargas, J.

Papers Considered:
Notice of Motion, Affirmation &amp; Exhibits Annexed 1-4Affidavit in Opposition
&amp; Exhibit Annexed 5-6Reply Affirmation 7Sur-Reply to Motion to
Dismiss and Default Judgment &amp; Exhibits 8-9Upon the foregoing papers and
for the following reasons, the Motion by Defendant, State of New York (hereinafter
"State") to dismiss the "Article 78 Verified Petition" (hereinafter referred to as "Claim")
by Claimant Linnea W. (hereinafter "claimant"), is granted in accordance with the
following decision.
On November 25, 2023, the claimant filed a 50-page Claim, accompanied by 187
pages of voluminous exhibits, against the State for judgment "pursuant to CPLR Article
78 to challenge the conduct, actions and inactions" of New York County Family Court
Judge Gigi N. Parris, as [*2]well as other court
employees, New York City, Suffolk County, Town of Southampton, District Attorney
and State agencies, embroiled in pending acrimonious family offense, custody and
visitation proceedings between her and her former partner, Matthew Parrott, Esq.,
involving their six year-old daughter, V.P. (Claim, at 3, ¶ 8) The crux of claimant's
challenges concern Family Court orders, including Temporary Orders of Protection
issued by Judge Parris, the most recent expiring on June 12, 2024, that have resulted in
her staying away and not being able to visit with her child unsupervised since March
2023 (see Claim, Exh. C). 
In the Claim, she makes numerous allegations against the State and its agencies,
including the Family Court, Appellate Division, City of New York and New York State
Commission of Judicial Conduct, that, basically, they have all condoned and reinforced
the alleged fraud committed against her by Mr. Parrott and counsel in the courts. In
addition to taking issue with many of the events in her custody litigation, the claimant
also decries the state of the Family Court itself and District Attorneys in New York. As a
result, the claimant asks in her Claim for judgment to be entered pursuant to Article 78,
directing, among other things: "a mistrial" of the Family Court proceedings; transfer to
the Supreme Court with no further involvement by Judge Parris or her Court Attorney
Ashley Mullin, Esq.; dismissal of Lawyer's for Children as Attorney for the Child;
removal of Judge Parris from the bench; an award of sole custody of V.P. to her; no
contact orders of protection against the father, his attorney and the AFC; that the State
immediately take over supervision, control, administration, management and oversight of
all Family Courts; and revocation of all ex-parte and sua sponte orders followed by a full
evidentiary hearing (see Claim at 43-46, ¶¶ a-n). In addition, the
claimant seeks the vacatur of the Family Court Temporary Orders of Protection and all
orders issued by Judge Parris, as well as monetary damages in excess of $9,000,000
(see id. at 46-49).
By Notice of Motion filed January 9, 2024, the State moves for a pre-answer
dismissal of the Claim, pursuant to Court of Claims Act §§ 9 and 10, CPLR
3211 and/or 3212, arguing that this Court does not have subject matter jurisdiction to
entertain equitable claims raised by the claimant against the State, nor jurisdiction to
review the decision, rulings and actions of other courts. Specifically, the State maintains
that the claimant is improperly seeking review of the custody and family offense
decisions of the similarly situated Family Court and Supreme Court, and that, in any
event, Judge Parris and court personnel are shielded from liability under the doctrine of
absolute immunity from suit for their discretionary judicial and quasi-judicial actions.
Further, the States argues that this Court also lacks jurisdiction to determine her alleged
constitutional violations under the Federal and State constitutions, thus requiring the
dismissal of the Claim. 
By Affidavit in Opposition filed February 13, 2024, the claimant counters that the
Court of Claims has jurisdiction over this Claim pursuant CPLR Article 78, because she
has alleged sufficient facts which establish causes of action for the negligent and criminal
actions allegedly committed by the State and its agencies against her in permitting,
inter alia, a Family Court Judge to continue presiding over her proceedings
despite improprieties, including having ex-parte proceedings and using her sealed
criminal records in the pending custody and family offense proceedings in violation of
the criminal code. According to claimant, the State should be liable for at least $1 million
for each of the various alleged criminal acts because all of the many Temporary Orders
of Protection are illegal and violate the Family Court Act and Social Services [*3]Law. Finally, she argues that the State does not have
immunity for its agencies' illegal actions since it has the legislative power and control
over the Family Court Judge presiding over her case, the New York City Mayor, District
Attorney and the Town of Southampton, as evidenced by several reports issued
throughout the years about the state of the courts.
By Reply Affirmation filed February 27, 2024, the State maintains that this Court
lacks subject matter jurisdiction over the Claim and reiterates that it must be dismissed.
The claimant then filed a Sur-Reply Affidavit on March 4, 2024, repeating her prior
arguments in opposition to the Motion. Upon reading all the papers herein, this Court
agrees with the State.
"The Court of Claims has limited jurisdiction to hear actions against the State itself
or actions naming State agencies or officials as defendants, where the action is, in reality
one against the State - i.e., where the State is the real party of interest" (Borawski v Abulafia, 117
AD3d 662, 663 [2d Dept 2014]). It possesses only such jurisdiction as the State
legislature expressly confers upon it (see Ivey v State of New York, 138 AD2d
962 [4th Dept 1988]; Court of Claims Act § 9). That being said, the Court of
Claims may not review the decisions of other courts and has no jurisdiction to intervene
in ongoing court matters or to review judicial rulings made in connection therewith
(see Leonichev v NYC Civil Hous. Court, UID No. 2016-049-044 [Ct Cl,
Weinstein, J., December 2, 2016]; Martocci v County of Ulster, UID No.
2001-028-557 [Ct Cl, Sise, J., September 6, 2001]). "'[B]ecause suits against the State
are allowed only by the State's waiver of sovereign immunity and in derogation of the
common law, statutory requirements conditioning suit must be strictly construed'"
(Lichtenstein v State of New York, 93 NY2d 911, 913 [1999], quoting Dreger
v New York State Thruway Auth., 81 NY2d 721, 724 [1992]; Correa v State of New York,
208 AD3d 847 [2d Dept 2022]).
Applying these principles to the matter at bar, the State has sufficiently established
that this Court does not have subject matter jurisdiction to entertain the instant Claim and
it must be dismissed. The record is quite clear that claimant files her Claim for "judgment
pursuant to Article 78 of the [CPLR]" and that she wants this Court to grant her equitable
relief pursuant to that statute (Claim, at 1, 3, ¶ 8). However, CPLR article 78
establishes an exclusive procedure for challenging the determinations of administrative
agencies, public bodies or officers as "arbitrary and capricious" (Matter of Gross v
Perales, 72 NY2d 231, 235 [1988]; see CPLR 7803), are to be commenced
specifically "in the supreme court in the county" (CPLR 7804[b]). It is not to be used to
challenge determinations which "can be adequately reviewed by appeal to a court or to
some other body or officer" (CPLR 7801[1]). This Court as a court of limited
jurisdiction, clearly lacks the authority to review CPLR article 78 administrative
determinations (see Court of Claims Act § 9).
Even if the instant Claim were appropriately brought under the Court of Claims Act,
it does not satisfy any of the Court of Claims Act § 11(b) requirements, as the
claimant fails to specify an accrual date, the nature of the claims or any cause of action
cognizable under the Court of Claims Act (see Lepkowski v State of New York, 1 NY3d 201, 207
[2003]; Kimball Brooklands
Corp. v State of New York, 180 AD3d 1031, 1032 [2d Dept 2020]).  Indeed, as
a court of limited jurisdiction, the Court of Claims has no jurisdiction to grant strictly
equitable relief (see Madura v
State of New York, 12 AD3d 759, 760 [3d Dept 2004]). "Thus, in determining
the subject matter jurisdiction of the Court of Claims, the threshold question is '[w]hether
the essential nature of the claim is to recover money, or whether the monetary relief is
[*4]incidental to the primary claim'" (id., quoting
Matter of Gross v Perales, 72 NY2d 231, 236). Although the claimant here
characterizes her petition as seeking money damages exceeding $9,000,000, it is
transparently clear - as repeatedly stated throughout her Claim - that she is seeking to
punish all persons connected to her current predicament with equitable relief in declaring
a mistrial, removing Judge Parris from the bench, and reversing all the Family Court
orders which deprived her of access to her daughter. 
However, it is well-settled that the Court of Claims cannot sit in appellate review of
another court's decision (see Davis v Bronx Sup. Ct. Civil Term, UID No.
2019-049-025 [Ct Cl, Weinstein J., July 25, 2019]; Kingston v State of New
York, UID No. 2016-049-033 [Ct Cl, Weinstein, J., August 17, 2016]), especially of
a court which is acting within her judicial functions and is "cloaked with absolute
judicial immunity" (Gross v
State of New York, 11 Misc 3d 1084[A], 2006 NY Slip Op 50702[U] [Ct Cl
2006, affd for reasons stated below 37 AD3d 1062 [4th Dept 2007], lv denied
8 NY3d 811 [2007], cert denied 552 US 889 [2007]; see Pinto v
Wilhelm, UID No. 2022-038-549 [Ct Cl, DeBow, J., November 22, 2022]).  It is,
therefore, apparent from this record that any claims for money damages are merely
incidental to the claimant's primary equitable goals which cannot be achieved here.
As the State points out, the proper procedure for the claimant is to appeal the Family
Court decisions to the Appellate Division, which she seems to be well aware of as she
had so appealed on numerous occasions (see e.g., Matter of Matthew P. v Linnea
W., 220 AD3d 502 [1st Dept 2023] [no counsel fees for claimant]; Matthew P. v Linnea W., 197
AD3d 1070 [1st Dept 2021] [Order of Protection against claimant upheld and
directing her only supervised visitation with child]). In fact, the claimant appears to be a
prolific litigator who has brought similar allegations against the City, Family Courts,
Appellate Divisions and Judge Parris in New York County Supreme Court, albeit
unsuccessfully (see W. v City of New York, 2024 NY Slip Op 30960[U] [NY
Sup Ct, Bluth, J., 2024]), and now seeks the same or similar relief herein against the
State.
Having failed to bring her Claim for CPLR Article 78 relief in an inappropriate
forum, and having failed to comply with the provisions of the Court of Claims Act, this
Court finds that the Claim must be dismissed for lack of subject matter jurisdiction and
for failure to state cognizable causes of action, even under constitutional law (see
Rosenblatt v State of New York, 28 Misc 3d 1216[A] [Ct Cl, Vargas, J., March 27,
2024]; Leibovitz v State of New
York, 81 Misc 3d 1218[A] [Ct Cl, Vargas, J. December 13, 2023]; Court of
Claims Act §§ 9, 10, 11).
Based on the foregoing, the Court grants the State's Motion No. M-100329, and the
Claim No. 141479, is hereby dismissed.
New York, New YorkMay 21, 2024Hon. JAVIER E. VARGASJudge
of the Court of Claims



Footnotes

Footnote 1: It should be noted that
the claimant does not appear to have the legal capacity to commence this action on behalf
of her daughter, V.P., as she does not have legal custody or guardianship of the minor.






